                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )     Case No. 1:07CR00029
                                                  )
v.                                                )          OPINION
                                                  )
THE PURDUE FREDERICK                              )     By: James P. Jones
COMPANY, INC., D/B/A THE                          )     United States District Judge
PURDUE FREDERICK COMPANY,                         )
                                                  )
                  Defendant.                      )

        Chilton Davis Varner, Stephen B. Devereaux, Eric M. Wachter, and Merritt
E. McAlister, King & Spalding LLP, Atlanta, Georgia, and Wm. W. Eskridge,
Penn, Stuart & Eskridge, Abingdon, Virginia, for The Purdue Frederick Company,
Inc.; Mitchel T. Denham, S. Travis Mayo, and C. David Johnstone, Assistant
Attorneys General, Office of the Attorney General, Frankfort, Kentucky, on behalf
of the Attorney General of Kentucky.

      In this criminal case, concluded over six years ago, defendant The Purdue

Frederick Company, Inc. (“Purdue”), requests the court to enjoin the Attorney

General of Kentucky (the “Attorney General”) from litigating certain claims on

behalf of the Commonwealth of Kentucky (the “Commonwealth”) in a civil action

pending in that state’s courts.1 Purdue argues that its guilty plea in this case, as


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         Initially, Purdue also moved to enjoin Pike County, Kentucky, which had jointly
filed suit with the Commonwealth in state court. Pike County has since consented to an
order dismissing from the state court action any of its claims that might have been
relevant to the issues Purdue has raised in its motion for an injunction. Accordingly,
Purdue withdrew its request for relief against Pike County, and I will focus exclusively
on the availability of injunctive relief against the Attorney General.


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well as an associated civil settlement it reached with the federal government over

Medicaid payments, conclusively determined certain aspects of the Attorney

General’s suit in state court. Purdue contends that the Attorney General’s attempt

to introduce evidence as to damages for claims that have already been resolved

threatens the integrity and finality of the outcome over which this court presided in

2007, warranting the issuance of an injunction pursuant to the All Writs Act, 28

U.S.C.A. § 1651 (West 2006).          The Attorney General 2 opposes the motion,

asserting among other things, that such an injunction would exceed the power of

this court under the Anti-Injunction Act, 28 U.S.C.A. § 2283 (West 2006).

      For the reasons that follow, I will deny Purdue’s request for an injunction.



                                   I. BACKGROUND.

      The facts surrounding Purdue’s motion are matters of record and are

undisputed.

      Purdue manufactures OxyContin® Tablets (“OxyContin”), a prescription

opioid pain medication. Between 2002 and 2007, the United States Attorney for

this district, along with other state and federal authorities, conducted an extensive

investigation into Purdue’s conduct in marketing and promoting the sale of this

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         The Attorney General is the plaintiff in the suit in state court. In its motion,
therefore, Purdue seeks to enjoin the Attorney General. He has responded, however, in
the name of the Commonwealth. Despite this possible dissonance, I will review the
Attorney General’s arguments as though they had been filed on his own behalf.
                                           -2-

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drug. This investigation culminated in Purdue’s guilty plea in this court to an

Information charging it with misbranding OxyContin with the intent to defraud or

mislead a felony under the Food, Drug and Cosmetic Act. 21 U.S.C.A. §§ 331(a),

333(a)(2) (West 1999 & Supp. 2013).3 In connection with the plea, Purdue entered

into a written Plea Agreement pursuant to Federal Rule of Criminal Procedure

11(c)(1)(C), in which it agreed to pay substantial monetary amounts totaling $600

million, of which a portion — $160 million — was to settle state and federal health

care program claims pursuant to a Civil Settlement Agreement.

      As a part of its plea, Purdue consented to an Agreed Statement of Facts. The

government alleged, and Purdue agreed, that Purdue had marketed and promoted

OxyContin as less addictive, less subject to abuse and diversion, and less likely to

cause patients to develop tolerance or experience withdrawal than other narcotic

pain relievers. Purdue agreed that it had made these representations to its own

sales personnel, as well as to healthcare providers, while knowing that they were

not true, and thereby violated federal law.

      Before accepting Purdue’s Plea Agreement as submitted, I ordered both

Purdue and the government to submit additional documents and answer a number

of specific questions. I inquired, among other issues, about the financial status of


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        Three Purdue executives also pled guilty at that time to misdemeanor charges
under 21 U.S.C.A. § 333(a)(1) (West 1999).

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the corporation, the means employed to calculate recoverable damages, and the

effect the agreement might have on the ability of affected persons to recover

individual damages. Ultimately, I accepted the Plea Agreement over the objections

of certain putative victims of the crime, finding that it imposed adequate

punishment on the defendant. United States v. Purdue Frederick Co., 495 F. Supp.

2d 569, 576-77 (W.D. Va.), mandamus denied, 264 F. App’x 260 (4th Cir. 2007)

(unpublished).

      A final criminal Judgment was entered on July 25, 2007, in which Purdue

was adjudicated guilty of the felony charged in the Information and placed on

probation for a term of five years.   As a condition of that probation, Purdue was

ordered to pay the financial sanctions set forth in the Plea Agreement.

      Medicaid was among the governmental health care programs the United

States claimed had suffered loss on account of Purdue’s conduct. Medicaid is a

cooperative venture of the federal government and the states that pays for medical

care for lower-income persons. When a Medicaid claim is filed, the state initially

pays the entire cost to the medical provider. The federal government must then

reimburse each participating state on a quarterly basis “an amount equal to the

Federal medical assistance percentage . . . of the total amount expended during

such quarter as medical assistance under the State [Medicaid] plan.” 42 U.S.C.A.

§ 1396b(a)(1) (West 2012). The federal medical assistance percentage (“FMAP”),


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which is set periodically and varies by state, is the percentage reimbursement the

state will receive for its Medicaid expenditures. 42 U.S.C.A. § 1396d(b) (West

2012 & Supp. 2013); see Federal Financial Participation in State Assistance

Expenditures, 77 Fed. Reg. 71420-02 (Nov. 30, 2012) (fixing FMAP for each state

for period October 1, 2013, through September 30, 2014). For a state in which the

FMAP is 70 percent, therefore, the federal government will reimburse 70 cents of

every dollar the state spends on Medicaid.

      In recognition of Medicaid’s cost sharing structure, the Civil Settlement

Agreement required Purdue to place $60 million in escrow for those states wishing

to settle claims against Purdue. Forty-nine states opted into the settlement, each

receiving a distribution from this fund in satisfaction of any claims that state might

have had against Purdue for its share of Medicaid expenditures that resulted from

the fraudulent marketing and promotion of OxyContin.

      The Commonwealth was the only state that chose to opt out of the

settlement. Instead, on October 4, 2007, the Attorney General, together with Pike

County, filed suit 4 in the Circuit Court of Pike County, Kentucky (the “State Court



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        In addition to the defendant in this case, the State Court Action names as
defendants Purdue Pharma, Inc., Purdue Pharmaceuticals, L.P., and P.F. Laboratories,
Inc. The defendant represents that these entities are affiliates of the Purdue Frederick
Company, Inc. and are also entitled to injunctive relief. The State Court Action also
names two unaffiliated defendants, Abbot Laboratories and Abbott Laboratories, Inc.

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Action”). 5 The factual foundation for the State Court Action is the same as in the

United States’ prosecution of Purdue. In fact, the Attorney General attached the

Agreed Statement of Facts to his First Amended Complaint in the State Court

Action. As in this case, the central allegation in the State Court Action is that:

            Beginning on or about December 12, 1995, and continuing until
      on or about June 30, 2001, certain Purdue supervisors and employees,
      with the intent to defraud or mislead, marketed and promoted
      OxyContin to medical care providers as less addictive, less subject to
      abuse and diversion, and less likely to cause tolerance and withdrawal
      than other pain medications. . . .

(Purdue’s Brief in Supp., Ex. F ¶ 42.)

      The Attorney General emphasizes in his First Amended Complaint in the

State Court Action that the Commonwealth “is responsible for the costs of

prescription, health care and medical costs for Medicaid recipients pursuant to the

State Medicaid Program and statute administered by the Kentucky Cabinet for

Health and Family Services.” (Id. at ¶ 106.) He alleges that Kentucky’s Medicaid


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        Although the State Court Action was filed nearly six years ago, little substantive
progress has been made in the litigation. After it was filed, Purdue removed the case to a
federal district court in Kentucky. The case was then transferred, consolidated, and
stayed as part of on-going multidistrict litigation in the Southern District of New York.
That court, concluding the case had been improperly removed, remanded the case to the
Kentucky state court on September 26, 2011. Kentucky ex rel. Conway v. Purdue
Pharma, L.P. (In re OxyContin Antitrust Litigation), 821 F. Supp. 2d 591, 603 (S.D.N.Y.
2011). Purdue then petitioned for leave to appeal and the Second Circuit stayed the
remand order pending its decision on the petition. On January 9, 2013, the Second
Circuit denied Purdue’s petition, and the case was returned to the Pike County Circuit
Court. Purdue Pharma L.P. v. Kentucky, 704 F.3d 208, 220-21 (2d Cir. 2013). That
decision obviously prompted the present motion.

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program has spent “millions of dollars each year to pay for excessive prescriptions

costs, health care and medical costs and to provide necessary services and

programs on behalf of indigents and other eligible citizens who have used or will

use OxyContin and have suffered or will suffer deleterious health effects

therefrom.” (Id. at ¶ 87.) The Attorney General specifically alleges that between

1998 and the first quarter of 2006, the Kentucky Medicaid program spent over $22

million paying for OxyContin prescriptions.

        Seeking reimbursement for these Medicaid expenditures, the Attorney

General’s First Amended Complaint states claims for violations of the Kentucky

Medicaid Fraud Statute and the Kentucky False Advertising Statute. The Attorney

General also asserts state law claims for disgorgement, continuing public nuisance,

unjust enrichment, indemnity, negligence, antitrust, fraud, conspiracy, and punitive

damages. None of these claims specify the amount of damages owed to the

Commonwealth. In his prayer for relief in the First Amended Complaint, however,

the Attorney General requests “restitution and reimbursement sufficient to cover

all prescription costs the Commonwealth has incurred related to OxyContin due to

Defendants’ wrongful conduct, with said amount to be determined at trial.” (Id. at

¶ H.)

        In its initial filing regarding its motion for an injunction, Purdue argued that

the Attorney General was seeking to recover all prescription drug costs and other


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monies the Kentucky Medicaid program expended as a result of Purdue’s conduct

in marketing OxyContin. According to Purdue, this amount included the roughly

70 percent of Kentucky’s Medicaid expenditures for which the state has already

received reimbursement from the federal government. Ordinarily, a state may

pursue clams in which both the state and federal government have an interest, so

long as the state remits to the federal government the percentage of any monetary

damages recovered for which the state received reimbursement. See 42 U.S.C.A. §

1396k(d) (2012).    In this case, however, the federal government has already

released any claim it might have had for damages to the Medicaid program in the

Civil Settlement Agreement.

      Purdue expresses concern that the State Court Action threatens to unsettle

the complex disposition the parties negotiated in this case by allowing the Attorney

General to relitigate in state court claims that have already been resolved. The

Attorney General has since made clear, however, that he does not seek to recover

any damages beyond those directly incurred by the Kentucky treasury — that is, he

does not intend to recover the share of the costs to the Kentucky Medicaid program

that were paid by the federal government.6 The Attorney General represents,

however, that it will be necessary and appropriate for him to present evidence to


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       “The Commonwealth is not attempting to collect the federal share of Medicaid
damages for itself, for the federal government, or for anyone else.” (Commonwealth’s
Sur-Reply 2.)
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the court and jury in the State Court Action of the totality of the damages to the

Kentucky Medicaid program caused by Purdue’s conduct, including evidence of

the federal share.

      Purdue argues that allowing the Attorney General to conduct discovery of

and present this evidence will effectively force it to relitigate claims that it believed

were conclusively settled six years ago, forcing it to expend unnecessary resources

and damaging its ability to receive a fair verdict at trial. Purdue asks this court to

issue, pursuant to the All Writs Act, 28 U.S.C.A. § 1651, a narrowly-tailored

injunction designed both to aid this court’s jurisdiction as well as to protect and

effectuate the outcome the parties negotiated and expected in this case.

Specifically, Purdue seeks to enjoin the Attorney General from: (1) pursuing any

damages representing the federal share of Kentucky’s Medicaid expenses; (2)

pursuing any discovery that does not sufficiently exclude the federal share; (3)

offering any evidence during trial that does not sufficiently exclude the federal

share; and (4) executing any judgment that does not sufficiently exclude the federal

share. The Attorney General has responded in opposition to this motion, primarily

arguing that an injunction of a state court proceeding under these circumstances

would contravene the Anti-Injunction Act, 28 U.S.C.A. § 2283.




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       Purdue’s motion has been the subject of multiple rounds of briefing from

both Purdue and the Attorney General, and it has been orally argued. It is ripe for

decision.



                                     II. APPLICABLE LAW.

       The All Writs Act grants federal courts the authority to “issue all writs

necessary or appropriate in aid of their respective jurisdictions and agreeable to the

usages and principles of law.” 28 U.S.C.A. § 1651(a). Although this language

appears to allow for the exercise of broad judicial discretion, the All Writs Act

“has been greatly circumscribed, both by case law and by statute,” and “generally

should only be used ‘sparingly and only in the most critical and exigent

circumstances.’” Gooch v. Life Investors Ins. Co. of Am. (In re Life Investors Ins.

Co. of Am.), 589 F.3d 319, 330 (6th Cir. 2009) (quoting Wis. Right to Life, Inc. v.

Fed. Election Comm’n, 542 U.S. 1305, 1306 (2004) (Rehnquist, C.J., in

chambers)).

      A court’s authority under the All Writs Act is nowhere more limited than

when it is asked to enjoin a proceeding in state court. 7 The Anti-Injunction Act


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         In its motion, Purdue seeks to enjoin the Attorney General, rather than enjoining
the proceeding itself. Courts have recognized, however, that “[t]he Anti-Injunction Act’s
prohibition against the enjoining of state proceedings . . . extends to injunctions against
parties to the state-court litigation.” Bryan v. BellSouth Commc’ns, Inc., 492 F.3d 231,
236 n.2 (4th Cir. 2007); see also Atl. Coast Line R.R. v. Bhd. of Locomotive Eng’rs, 398
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provides, “A court of the United States may not grant an injunction to stay

proceedings in a State court except as expressly authorized by Act of Congress, or

where necessary in aid of its jurisdiction, or to protect or effectuate its judgments.”

28 U.S.C.A. § 2283. The Anti-Injunction Act “represents Congress’ considered

judgment as to how to balance the tensions inherent in [the federal] system.

Prevention of frequent federal court intervention is important to make the dual

system work effectively.” Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 146

(1988). The Fourth Circuit “take[s] seriously the mandate in the Anti-Injunction

Act and recognize[s] that for over two hundred years, the Act has helped to define

our nation’s system of federalism.” Emp’rs Res. Mgmt. Co. v. Shannon, 65 F.3d

1126, 1130 (4th Cir. 1995); see also Denny’s Inc. v. Cake, 364 F.3d 521, 531 (4th

Cir. 2004) (“[T]he basic harm the statute was intended to prevent was not the

liberal granting of protective orders, per se, but the needless friction between state

and federal courts.”) (internal quotation marks and citation omitted).

       The Anti-Injunction Act categorically prohibits injunctions of state court

proceedings “unless [the injunction] falls within the reach” of one of the three

specific exceptions outlined in the Act. Bryan, 492 F.3d at 236; cf. Nationwide

Mut. Ins. Co. v. Burke, 897 F.2d 734, 737 (4th Cir. 1990) (“Before a federal court


U.S. 281, 287 (1970) (“It is settled that the prohibition of § 2283 cannot be evaded by
addressing the order to the parties or prohibiting utilization of the results of a completed
state proceeding.”).
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may enjoin a state court proceeding, the injunction must be based upon one of §

2283’s three narrow exceptions.”) Moreover, notions of comity between federal

and state courts require that these “exceptions should not be enlarged by loose

statutory construction.” Atl. Coast Line R.R., 398 U.S. at 287. In this case, no

argument has been made that the first exception to the Anti-Injunction Act applies;

that is, there has been no argument that Congress has specifically authorized

federal courts to enjoin the proceedings of state courts under these circumstances.

Purdue does contend, however, that both the second and third exceptions apply in

this case. Purdue argues that the injunction it requests is necessary both to aid this

court’s jurisdiction and to protect and effectuate the judgment entered in this case

six years ago. I will address these arguments in turn.



                            III. THE RELITIGATION EXCEPTION.

        The Anti-Injunction Act provides that a federal court may enjoin the

proceedings of a state court “to protect or effectuate its judgments.” 28 U.S.C.A. §

2283.    Courts often refer to this exception to the general prohibition against

injunctions of state court proceedings as the “relitigation exception.”         ‘“The

relitigation exception was designed to permit a federal court to prevent state

litigation of an issue that previously was presented to and decided by the federal

court. It is founded in the well-recognized concepts of res judicata and collateral


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estoppel.’” Bryan, 492 F.3d at 236 (quoting Chick Kam Choo, 486 U.S. at 147).

For a federal court to justify enjoining state proceedings under this exception, “the

issue the federal court decided must be the same as the one presented in the state

tribunal,” and the party to be enjoined “must have been a party to the federal suit,

or else must fall within one of a few discrete exceptions to the general rule against

binding nonparties.” Smith v. Bayer Corp., 131 S. Ct. 2368, 2376 (2011).

      The Supreme Court has not specifically defined the degree to which the

scope of the exception tracks the scope of preclusion. “[M]ost federal court apply

the relitigation exception far more narrowly than the doctrine of res judicata, more

in line with collateral estoppel.”    17A James Wm. Moore, Moore’s Federal

Practice ¶ 121.08[2][d] (3d ed. 2013). The Fourth Circuit agrees:

      An injunction may issue under the relitigation exception only if the
      claims or issues subject to the injunction have actually been decided
      by the federal court; the exception is inapplicable where an injunction
      is sought to prevent the litigation of claims or issues that could have
      been decided in the original action but were not.

Bryan, 492 F.3d at 236-37 (emphasis in original); see also LCS Servs., Inc. v.

Hamrick, 925 F.2d 745, 750 (4th Cir. 1991) (“The district court did not directly

address any issue presently pending before the state court. Accordingly, we find

that the relitigation exception . . . does not apply. . . .”); Nationwide, 897 F.2d at

737 (“[T]he federal court must actually have decided the claims or issues which the

federal injunction would insulate from state proceedings.”).         In light of the


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circumscribed nature of this exception, a complainant who seeks to invoke it “must

make a strong and unequivocal showing of relitigation of the same issues.” LCS

Servs., 925 F.2d at 749 (internal quotation marks and citations omitted). This

approach to applying the relitigation exception is consistent with the Supreme

Court’s recent characterization of the use of the exception as “resorting to heavy

artillery.” Smith, 131 S. Ct. at 2376. “For that reason, every benefit of the doubt

goes toward the state court; an injunction can issue only if preclusion is clear

beyond peradventure.” Id. (internal citation omitted). Therefore, in order for

Purdue to demonstrate that an injunction should be issued under these

circumstances, it must show that the issues it seeks to enjoin from consideration by

the state court were actually decided by this court, and that the Attorney General

fits into one of the exceptions allowing for preclusion of nonparties.

      First, I cannot conclude that the issues with regard to which Purdue seeks an

injunction were properly litigated and decided in this court such that I should

enjoin the proceedings of the state court.      In light of the Attorney General’s

representation that he will not seek to recover any damages that have already been

recovered and released by the federal government, the key claim Purdue was

concerned it would have to relitigate is no longer an issue. Ultimately, therefore,

Purdue is seeking an injunction of a state court’s ability to proceed on a claim the

plaintiff in state court has specifically denied having any intention to seek. The


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conclusion is inescapable, therefore, that the claim before the state court is not the

same as that which was resolved in this case.

      This conclusion is further supported by the fact that all of the causes of

action alleged in the State Court Action arise under state statutory and common

law. Although the state’s Medicaid program is certainly governed by and subject

to federal laws and regulations, I hesitate to conclude that any resolution under

federal law necessarily defined the related rights of a state as a matter of state law.

Cf. Atl. Coast Line R.R., 398 U.S. at 289 (concluding that a prior federal court

order focused only on the application of federal law and therefore could not justify

an injunction of a contradictory state court order where the state court had ruled as

a matter of state law); Smith, 131 S. Ct. at 2379 (“A federal court and a state court

apply different law. That means they decide distinct questions. The federal court’s

resolution of one issue does not preclude the state court’s determination of another.

It then goes without saying that the federal court may not issue an injunction. The

Anti-Injunction Act’s re-litigation exception does not extend nearly so far.”)

(emphasis in original).

      Nonetheless, Purdue still requests the court to foreclose any attempt by the

Attorney General to seek or execute a judgment containing an award of damages

that have already been recovered by the federal government, as well as any attempt

to discover or present evidence at trial relevant to those released claims. Purdue


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contends that an injunction of discovery and evidentiary matters is necessary to

protect and effectuate the outcome in this case. According to Purdue, allowing the

Attorney General to present evidence of the federal share to a jury in state court

could subject Purdue to an unduly large punitive damages award impermissibly

premised on claims or behavior that is not at issue in that case. Purdue argues that

it would be forced to relitigate the federal claims in order to avoid such an award,

as well as to rebut the threat of additional and unfair harm to its public reputation.

      The Third Circuit rejected a similar argument in Drelles v. Metro. Life Ins.

Co., 357 F.3d 344 (3d Cir. 2003).         In that case, a defendant in a complex

multidistrict litigation (“MDL”) matter sought to enjoin the plaintiffs in a number

of parallel state court actions from discovering and presenting evidence of damages

encompassed by the nationwide MDL. Id. at 345. These plaintiffs had opted out

of the MDL settlement. The defendant argued that allowing the state plaintiffs to

introduce this evidence would force it to relitigate the settled claims. The Third

Circuit disagreed:

      [The plaintiffs], however, are not relitigating the settled claims at all
      here; they are suing over their own alleged mistreatment at the hands
      of Metlife, not over someone else’s claim. Metlife observes that [the
      plaintiffs’] complaint largely copies the class action complaint in the
      MDL case and describes at length the allegations against Metlife in
      the MDL case. To the extent that [the plaintiffs] may try to bring in
      evidence of nationwide practices that are irrelevant to their individual
      claims, however, Metlife is free to object to such evidence before the
      appropriate state courts, who are the proper authorities to make such
      evidentiary rulings.
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Id. at 346-47.

      In this case, the Attorney General is seeking to litigate the Commonwealth’s

“own alleged mistreatment” at the hands of Purdue. Similar to the Third Circuit

case, Purdue has argued that the nearly identical nature of the complaint in the

State Court Action when compared to the Agreed Statement of Facts illustrates that

it will be forced to relitigate claims it has already settled, even if it will not

ultimately be subject to paying damages again on those claims. The fact that the

claims arise from the same conduct as was at issue in this case, however, does not

change the fact that they are specific claims belonging to the Commonwealth, none

of which were addressed in this case. The evidentiary matters Purdue seeks to

enjoin should be decided as a matter of the state court’s rules of civil procedure

and evidence. This court certainly has not determined the preclusive or evidentiary

import of the outcome of this case under Kentucky law, and I must remain mindful

that “the Supreme Court has limited the relitigation exception to the precise

language of the district court’s prior order . . . .” LCS Servs., 925 F.2d at 749-50.

For these reasons, I do not believe that Purdue has made a “strong and unequivocal

showing” that the State Court Action threatens relitigation of any issues that were

directly addressed in this case.

      In addition, although I do not decide this issue, I am not convinced that the

Attorney General is subject to any of the exceptions that would allow for the
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application of preclusion principles to him despite not being a party to the prior

litigation. The Supreme Court has “repeatedly ‘emphasize[d] the fundamental

nature of the general rule’ that only parties can be bound by prior judgments;

accordingly, [it has] taken a ‘constrained approach to nonparty preclusion.’”

Smith, 131 S. Ct. at 2379 (quoting Taylor v. Sturgell, 553 U.S. 880, 898 (2008)).

       Purdue has argued, with some merit, that the statutory scheme creating the

Medicaid program imposes a form of agency relationship between the federal

government and each of the states. 8 The fact remains, however, that the Attorney

General is a representative of a sovereign state whose decision not to participate in

the global settlement was both anticipated in the terms of that agreement and

protected by law. The Attorney General may decide independently of the federal

government, even under the current statutory scheme, when and where to pursue

claims for damages to the Medicaid program.                 Moreover, it is clear that the

Commonwealth had no involvement in the grand jury investigation of this criminal

case. The Seventh Circuit has determined that this is an important factor in

deciding whether preclusion principles should be applied. See Kerr-McGee Chem.


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           42 U.S.C.A. § 1396a(a)(25) (West 2012) imposes on each state or local
administering agency an obligation to “take all reasonable measures to ascertain the legal
liability of third parties” with regard to the payment of Medicaid funds, and where such
liability is found to exist, to “seek reimbursement . . . to the extent of such legal liability.”
Congress then required the states to arrange for “appropriate reimbursement of the
Federal Government” whenever a state recovers funds from a party improperly paid. 42
U.S.C.A. § 1396k(b) (West 2012).
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Corp. v. Hartigan, 816 F.2d 1177, 1181 (7th Cir. 1987) (“Although a nonparty

may be bound because of the control that it exerts over litigation, the degree of

control justifying preclusion of a nonparty should be enough that the nonparty has

the actual measure of control or opportunity to control that might reasonably be

expected between two formal coparties.”) (internal quotation marks and citation

omitted).

      As the Third Circuit stated in Drelles, “Allowing the preemptive approach

espoused . . . here would essentially nullify [the] decision to opt out. . . .” 357 F.3d

at 346-47. Although federal Medicaid laws require states to act on behalf of the

federal government at least where it has not already done so itself, I do not believe

the Attorney General can properly be characterized as “so closely aligned with” the

interests of the United States under the facts of this case “as to be [its] virtual

representative.” Kerr-McGee, 816 F.2d at 1180. The federal government has

already asserted its claim, leaving Kentucky to pursue its own remedy.             The

relitigation exception, therefore, should not be applied to the claims the Attorney

General is litigating on behalf of the Commonwealth in the State Court Action.

      An additional factor that counsels against enjoining the State Court Action

pursuant to the relitigation exception is the nature of the judgment entered in this

criminal case. As with most criminal cases, the only judgment I entered was one

finding that Purdue was guilty of the crime with which it was charged and


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imposing the appropriate punishment. As detailed above, I did inquire into the

terms of the Plea Agreement solely in order to determine whether the agreed

disposition of the charge adequately represented the factors that I must consider in

sentencing criminal defendants who have been found guilty. See 18 U.S.C.A. §

3553(a) (West 2000 & Supp. 2013). I entered no other orders regarding the

relative liabilities of the United States and Purdue, nor did I adopt or approve the

Civil Settlement Agreement as part of any order or judgment of this court. I did

require as a condition of probation that Purdue pay the financial sanctions imposed

in the Plea Agreement, but that order did not imply adoption of the terms of the

Civil Settlement Agreement.

      For example, had the United States not acted in conformity with the terms of

the Civil Settlement Agreement, I would not have been able to enforce compliance

by a sanction of contempt of court. Because no order was ever entered adopting

this settlement, the Civil Settlement Agreement is simply a contract between the

United States and Purdue, for the breach of which the parties may resort to

traditional contract remedies. For these reasons, I question whether the terms of

the civil settlement between the United States and Purdue have the quality of a

court judgment that can be protected and effectuated by an injunction issued

pursuant to the relitigation exception.




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      These doubts further counsel against entering such an injunction under this

exception to the Anti-Injunction Act.



                        IV. AID OF JURISDICTION EXCEPTION.

      The other exception to the Anti-Injunction Act allows a federal court to

enjoin the proceedings of state courts “when necessary in aid of its jurisdiction.”

28 U.S.C.A. § 2283. Historically, courts have understood this exception “to apply

most often when a federal court was the first in obtaining jurisdiction over a res in

an in rem action and the same federal court seeks to enjoin suits in state courts

involving the same res.”       Miller v. Brooks (In re Am. Honda Motor Co.

Dealerships Relations Litig.), 315 F.3d 417, 439 (4th Cir. 2003).         Unlike in

personam actions, in which state and federal courts may separately impose

judgments and obligations on litigants, the imposition of conflicting obligations on

property is impossible to administer, necessitating that only one court decide the

appropriate allocation of rights with regard to that property.

      A number of courts have recognized that this exception can apply with equal

or even greater force to a federal court’s disposition of complex litigation. See,

e.g., In re Vioxx Prods. Liab. Litig., 869 F. Supp. 2d 719, 725 (E.D. La. 2012) (“In

the context of complex multidistrict litigation, the distinction drawn by the

Supreme Court between an in rem and in personam proceeding for purposes of


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applying the necessary in aid of jurisdiction exception is not so delineated.”). The

expenditure of judicial resources required to administer such large and complex

cases involving hundreds of parties can effectively transform the orderly

disposition of such a case into a res requiring injunctive protection to preserve the

court’s ability to facilitate a global resolution of the case. Id. at 726. If a state

court were to attempt to assert jurisdiction over any of the same claims at issue in

the complex federal case, it may “so interfer[e] with a federal court’s consideration

or disposition of a case as to seriously impair the federal court’s flexibility and

authority to decide that case.” Atl. Coast Line R.R., 398 U.S. at 295.

      The Fourth Circuit is among the courts to have determined that this

exception can be appropriately applied to protect the court’s consideration and

disposition of complex litigation. In Miller v. Brooks the court concluded that the

district court had appropriately enjoined proceedings in a California state court in

order to protect its jurisdiction over the settlement agreement reached in the MDL

over which it had presided. 315 F.3d at 439. The plaintiffs in the California state

court had joined the settlement of the MDL in federal court, but then proceeded to

file an action in state court seeking to recover damages from their former attorney

whose malpractice had allegedly deprived them of the opportunity to recover for

additional claims that fell outside the terms of the MDL settlement agreement.

Noting that the plaintiffs’ claims inevitably would require the state court to


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interpret the scope of the settlement agreement, the Fourth Circuit concluded that it

would be appropriate for the district court to enjoin the state proceeding to protect

its jurisdiction over the agreement. The court emphasized that the district court

had expressly retained “exclusive jurisdiction” regarding the agreement’s

“implementation, interpretation and enforcement.” Id. at 432. An additional factor

the court cited was its belief that the state court plaintiffs had been disingenuous

and were unjustly attempting to abuse the MDL process of the court. Id. at 439.

The Fourth Circuit concluded that allowing a party to a federally-administered

MDL settlement to enjoy the benefit of the settlement while simultaneously

attempting to avoid the limitations imposed by the scope and finality of that

agreement “threatened to frustrate multi-district litigation proceedings and disrupt

the orderly resolution of those proceedings.” Id. at 440.

      The Fourth Circuit’s approach to evaluating a district court’s decision to

issue injunctions in aid of its jurisdiction in the context of complex litigation is a

common one.

      First, we look to the nature of the federal action to determine what
      kinds of state court interference would sufficiently impair the federal
      proceeding. Second, we assess the state court’s actions, in order to
      determine whether they present a sufficient threat to the federal
      action. And finally, we consider principles of federalism and comity,
      for a primary aim of the Anti-Injunction Act is “to prevent needless
      friction between the state and federal courts.”




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In re Diet Drugs, 282 F.3d 220, 234 (3d Cir. 2002) (“Diet Drugs I”) (quoting Okla.

Packing Co. v. Okla. Gas & Electric Co., 309 U.S. 4, 9 (1940)).

      In finding that the nature of a federal suit rendered it susceptible to

disruption or disturbance by an action in state court, courts have generally

emphasized six common factors: (1) the complex MDL or class action structure of

the case; (2) whether the district court expressly retained jurisdiction over the

settlement; (3) whether and at what point the state court plaintiffs were party to and

opted out of the federal action; (4) whether the court perceives the state court

plaintiffs to be abusing the process of the court; (5) the extent of judicial resources

expended in managing the federal action; and (6) the stage of negotiation or

settlement the federal action had reached at the time an injunction of the state

action is sought.

      First, federal courts handling in personam cases have generally limited their

decisions to enjoin state court proceedings to MDLs or complex national class

actions. “Under an appropriate set of facts, a federal court entertaining complex

litigation, especially when it involves a substantial class of persons from multiple

states, or represents a consolidation of cases from multiple districts, may

appropriately enjoin state court proceedings in order to protect its jurisdiction.”

Diet Drugs I, 282 F.3d at 235. In fact, several courts have declined to enjoin state

court proceedings specifically because the federal action did not involve an MDL


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or a certified class action. See Negrete v. Allianz Life Ins. Co. of N. Am., 523 F.3d

1091, 1103 (9th Cir. 2008) (holding that an injunction was inappropriate because

“[t]his was not an MDL case; discovery was not complete; no class settlement was

imminent, in fact, as far as the record shows no serious settlement progress had

been made. . . .”); Gooch, 589 F.3d at 330-31 (declining to enjoin state court

proceedings because the federal action did not involve an MDL or class action).

      The Ninth Circuit approved of a district court’s injunction of state court

proceedings outside of the context of an MDL or class action, one of only a few

such cases, in Flanagan v. Arnaiz, 143 F.3d 540 (9th Cir. 1998). In that case, a

regulatory agency had ordered that a bank disentangle its affairs from those of one

of its founders and substantial shareholders. Id. at 542. The difficulties associated

with completing the ouster led the parties to enter into a complex settlement

agreement, subject to the court’s approval. Id. The ousted former shareholder

subsequently filed an action alleging breach of the agreement in state court. The

district court enjoined the state court action, and the Ninth Circuit approved.

Although the case was not an MDL or class action, it did involve another factor

courts have consistently looked to in deciding to enjoin state proceedings. In the

consent order it signed approving the settlement, the district court had expressly

retained jurisdiction for purposes of resolving future disputes arising from the

agreement. Id. at 543. “Where the district court expressly retains jurisdiction to


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enforce a settlement agreement, and to resolve disputes that may arise under it,

litigation in state court would pose a significant risk of frustrating the district

court’s jurisdiction over the consent judgment.” Id. at 545 (internal quotation

marks and citation omitted).

       Other federal courts have similarly found this retention of jurisdiction to

support the issuance of an injunction. See, e.g., In re Diet Drugs, 369 F.3d 293,

300 (3d Cir. 2004) (“Diet Drugs II”) (finding that the district court’s express

retention of jurisdiction supported an injunction).

      The third factor many courts have considered is whether, and at what point

in the progress of the case, the plaintiffs in state court elected to opt out of the

federal action in order to pursue their own remedy. The effect of a state court

plaintiff’s “opt out” status, however, is not unambiguous.            Under some

circumstances, courts have found that allowing an ex ante injunction of state court

proceedings “would essentially nullify [the state court plaintiff’s] decision to opt

out.” Drelles, 357 F.3d at 346-47.

      More frequently, however, courts have found that a plaintiff’s decision to

opt out of a class after certain progress had been made in the federal litigation

made the issuance of an injunction of the state court’s ability to consider certain

issues more appropriate. For example, in In re Prudential Ins. Co. of Am. Sales

and Practice Litig., 261 F.3d 355 (3d Cir. 2001), the court held that an injunction


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was appropriate where members of the federal class action chose to remain part of

the settlement for purposes of resolving their claims regarding two of their covered

insurance policies, but chose to opt out of the settlement with regard to two other

insurance policies. The court concluded that the state court plaintiffs should be

“precluded from using the sales practices and factual predicates pertaining to their

Class Policies in their state court action on the Excluded Policies.” Id. at 367. The

court decided that allowing plaintiffs to take advantage of the full scope of facts in

both state and federal court would “undermine the possibility for settling any large,

multi district class action,” leaving defendants in those actions perpetually

“concerned that a settlement of the federal class action would leave them exposed

to countless suits in state court despite settlement of the federal claims.” Id.;

accord, Diet Drugs II, 369 F.3d at 296 (approving an injunction of certain

evidentiary issues in a state court action brought by individuals who had opted out

of a class action in federal court after the litigation had reached an “intermediate”

stage).

      The fourth factor that many courts, including the Fourth Circuit, have

considered is whether the state court plaintiff has exhibited any bad faith with

regard to the federal action. In Miller v. Brooks, the Fourth Circuit held, among

other things, that the district court did not abuse its discretion in enjoining a state

court proceeding “to rectify the injustice [it] found [the plaintiffs] had perpetrated


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by engaging in misconduct in order to defeat such jurisdiction.” 315 F.3d at 437;

accord, Diet Drugs II, 369 F.3d at 301 (district court’s finding that plaintiff’s

counsel had showed bad faith and conduct supported injunction).

      Among the other factors courts have emphasized is the expenditure of

judicial resources in the federal action. The Fifth Circuit articulated how this

factor weighed on its decision to enjoin state court proceedings in Newby v. Enron

Corp., 338 F.3d 467, 469 (5th Cir. 2003). “The district judge presiding over these

cases has ruled on numerous motions and has been heavily engaged in the

considerable task of managing this complex litigation, including issuing a

comprehensive pre-trial scheduling order.” Id. The court further noted that the

federal action involved a large number of civil cases combined into one

proceeding, and that the state court was attempting to issue orders that were

duplicative of orders from the district court, thereby multiplying the cost of

litigating what was already a burdensome case. Id. at 474-75.

      Other courts have similarly emphasized the expenditure of judicial resources

and the complexity of actions in justifying the issuance of an injunction. See, e.g.,

Diet Drugs I, 282 F.3d at 236 (noting that the case represented the consolidation of

two thousand individual suits, comprised six million class members, and

necessitated the entry of over one thousand judicial orders over the course of two

years in order to reach a settlement approved by the district court); In re Vioxx


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Prods. Liab. Litig., 869 F. Supp. 2d at 721 (observing that the court had decided

over one thousand discovery motions and conducted six bellwether trials in order

to facilitate a global settlement of the remaining claims in the MDL).

      The final factor that has been commonly considered by courts deciding

whether to enter injunctions in aid of their jurisdiction accounts for the progress the

court and parties have made in settling the case in federal court. Generally, courts

have found injunctions of state court proceedings to be more necessary when the

case has achieved or is very near to a final settlement. Where the parties have so

far developed their expectations as to the likely disposition of a case, a state action

that would attempt to address the same claims or issues in a contrary fashion may

“so interfere[e] with a federal court’s consideration or disposition of a case as to

seriously impair the federal court’s flexability and authority to decide that case.”

Atl. Coast Line R.R., 398 U.S. at 295.

      For example, in Carlough v. Amchem Products, Inc., 10 F.3d 189, 204 (3d

Cir. 1993), the Third Circuit observed that the institution of litigation at a very late

stage in the federal action could so disrupt the process of negotiating a settlement

agreement as to effectively interrupt the federal court’s jurisdiction. “At this

mature phase of the settlement proceedings and after years of pre-trial negotiation,

a mass opting out of [the state court plaintiffs] clearly would be disruptive to the




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district court’s ongoing settlement management and would jeopardize the

settlement’s fruition.” Id.

      The Second Circuit has also concluded that where the federal action has

progressed to a point at or near settlement, it is especially deserving of injunctive

protection to preserve the district court’s jurisdiction:

      The success of any federal settlement was dependent on the parties’
      ability to agree to the release of any and all related civil claims the
      plaintiffs had against the settling defendants based on the same facts.
      If states or others could derivatively assert the same claims on behalf
      of the same class or members of it, there could be no certainty about
      the finality of any federal settlement. Any substantial risk of this
      prospect would threaten all of the settlement efforts by the district
      court and destroy the utility of the multidistrict forum otherwise
      ideally suited to resolving such broad claims.

In re Baldwin-United Corp., 770 F.2d 328, 337 (2d Cir. 1985). As Judge Fallon

stated in the Vioxx case, if state court proceedings “can functionally interfere with

or unsettle a completed settlement, years after all parties involved considered the

claims to be concluded, it would have a chilling effect on future settlements and

interfere with” the court’s ability to “foster efficient global resolutions in complex

multidistrict litigation.” Vioxx, 869 F. Supp. 2d at 728.

      Considering all of these factors, Purdue has not demonstrated that an

injunction is necessary in aid of this court’s jurisdiction in this case. Purdue argues

that this case, although not an MDL or class action, is a form of complex litigation

similar to those types of cases. I agree that the five-year grand jury investigation


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and the agreement reached between these parties was complex — that much is

clear from the Agreed Statement of Facts and the Civil Settlement Agreement.

Nonetheless, the structure of this criminal case is not. This action involves only

one case, not a consolidation of many cases, and only two parties, the United States

and Purdue.9      As a result, many of the most difficult issues, as well as the

expenditure of judicial resources, that justified the issuance of injunctions in those

types of cases were simply not present in this case.

       Unlike the Vioxx case, in which Judge Fallon had to rule on hundreds of

discovery motions and conduct six trials in order to facilitate settlement

negotiations, the parties in this case came before the court having negotiated their

own settlement and requiring only the court’s approval of Purdue’s guilty plea. 10

       Purdue has also argued that this court expressly retained jurisdiction over

this case by accepting Purdue’s guilty plea, which Purdue believes incorporated the

Civil Settlement Agreement. As I explained above, I do not believe that my


       9
         Purdue appears to argue that this case, at least in form if not in fact, operated like
a class action because each of the states was also a plaintiff. I cannot agree. Although
forty-nine of the states ultimately chose to take advantage of the terms of the settlement
negotiated between the government and Purdue in this case, only Virginia was an actual
participant in the settlement. The United States was not purporting to represent a “class
of states” in its action here; it was prosecuting a violation of federal law.
       10
         I do not mean to suggest that the means the parties employed in this case in
reaching their settlement are less deserving of respect and protection than is the case
when the court has been deeply involved throughout the litigation; I only believe that
such a case does not threaten the integrity of the court’s “jurisdiction” to the same degree
for purposes of the Anti-Injunction Act.
                                             -31-

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judgment finding Purdue guilty of violating federal law necessarily also functioned

as an order directing that the parties comply with the Civil Settlement Agreement.

The parties did include a provision in that agreement requiring the parties to submit

resolution of any future disputes to this court. In light of the absence of an order

from this court, however, this provision was simply a contractual forum selection

clause, rather than an express reservation of jurisdiction.

      Moreover, although the Commonwealth elected not to participate in the civil

settlement provided for the states, I do not believe this factor weighs in favor of an

injunction of discovery and evidentiary proceedings in the State Court Action.

Unlike the state court plaintiffs in Diet Drugs II or In re Prudential, the Attorney

General was at no time involved in this criminal prosecution. The Commonwealth

has in no way acted in bad faith or taken any actions that should prejudice its

ability to litigate the claims it has alleged in the State Court Action.

      Finally, Purdue has argued that the State Court Action threatens to disrupt

the settlement of a claim that was conclusively addressed six years ago. Purdue

argues that this factor should weigh heavily in favor of an injunction, because a

state court action that threatens to unsettle a federal judgment on which the parties

have relied for so long could disrupt the federal court’s ability to administer this

type of complex settlement generally. Quoting from the Vioxx opinion, Purdue

asserts that “Federal courts need and have the authority to enjoin state-court


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Case 1:07-cr-00029-JPJ Document 141 Filed 08/05/13 Page 32 of 39 Pageid#: 2763
litigation that interferes with the ability to shepherd those settlements. Parallel

state court litigation that nominally pursues separate claims but functionally would

require Defendants to pay twice . . . would severely hinder the incentive to settle,

to the detriment of all involved.” Vioxx, 869 F. Supp. 2d at 729-30.

      While I agree with the court in Vioxx that parties to complex negotiated

settlements should be able “to rely on the peace they have bought,” id. at 729, I

believe that Purdue has been able to do just that to the degree reasonably expected.

Upon entering its guilty plea, Purdue could reasonably anticipate having to

complete a term of probation, including all of the conditions of that probation,

supervised by this court. Purdue could also reasonably expect the United States

and each of the 49 states opting into the settlement to abide by the terms of their

agreements with Purdue. Each of these expectations has been fulfilled, and Purdue

has been discharged from its probation. Given this court’s inability to compel all

of the states to join in a global settlement of their claims against Purdue, as well as

the total absence of any private third party payors at all from any participation in

this case, it would be unreasonable for Purdue to expect that it “bought” total

immunity from having to litigate in the future any claims involving facts similar to

those that were resolved in this case.

      Purdue has not demonstrated how the State Court Action could threaten this

court’s jurisdiction, the imposed sentence having been fully served and all parties


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discharged from any additional obligations. For these reasons, and keeping in

mind that an injunction must be necessary in aid of the court’s jurisdiction and not

merely “related to that jurisdiction,” Atl. Coast Line R.R., 398 U.S. at 295, I do not

believe that a threat exists to the integrity of this court’s jurisdiction such that any

injunction of the proceedings in Pike County should issue.



                          V. EQUITABLE CONSIDERATIONS.

      I have outlined above the reasons why neither exception to the Anti-

Injunction Act encompasses the circumstances presented in this case. However,

even were this case to involve the entry of a judgment or the exercise of

jurisdiction that could be protected by an injunction, a number of equitable

considerations further counsel against such an order.

      The Supreme Court has made clear that an injunction should only issue

under the All Writs Act if it is “otherwise proper under general equitable

principles.” Atl. Coast Line R.R., 398 U.S. at 287. The Fourth Circuit has also

observed that the district court must exercise discretion in deciding whether to

enjoin the proceedings of a state court. Bryan, 492 F.3d at 239 (“Although we

have concluded that the requirements for application of the relitigation exception

have been satisfied, that does not necessarily mean it would be proper to enjoin the

state proceedings.”) Ultimately, the decision of whether to enter an injunction is a


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discretionary one, and “principles of comity, federalism, and equity always restrain

federal courts’ ability to enjoin state court proceedings.” Diet Drugs II, 369 F.3d

at 306. Courts have generally required that a party seeking a federal injunction of

a state proceeding demonstrate that the injunction is necessary to prevent

irreparable injury and that no adequate remedy is available at law. See, e.g.,

Moore, supra § 121.09; see also Goodrich v. Supreme Court of the State of S.D.,

F.2d 316, 317(8th Cir. 1975) (citing Younger v. Harris, 401 U.S. 37, 46 (1971))

(“Before exercising its equitable power to enjoin the state proceeding, the District

Court must find the plaintiff threatened with great and immediate irreparable injury

that cannot be eliminated by his defense to the state proceeding.”).

      In this case, Purdue has not made a showing of the necessity of an injunction

with regard to either of these equitable principles. The Attorney General has made

clear that the Commonwealth’s goal is not to recover any damages that would,

under normal circumstances, accrue to the federal government. Purdue, therefore,

is not now, nor can it reasonably anticipate, being subject to multiple or

inconsistent obligations with regard to repaying the federal share of these Medicaid

expenses. Moreover, as a number of courts have pointed out, if Purdue were to

somehow become subject to multiple or inconsistent obligations as a result of the

state trial court proceeding, it would have an adequate remedy in seeking relief in

the state courts of appeal or even the Supreme Court, if necessary. See, e.g., Atl.


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Coast Line R.R., 398 U.S. at 296 (“[I]f, because of the [state court’s] action, [a

party] faced the threat of immediate irreparable injury sufficient to justify an

injunction . . ., it was undoubtedly free to seek such relief from the [state appellate

courts], and might possibly in certain emergency circumstances seek such relief

from this Court as well.”); Kerr-McGee Chem. Corp. v. Hartigan, 816 F.2d 1177,

1182 (7th Cir. 1987) (“[The defendant] can raise the preemption issue as a defense

in the pending state court suit. . . . Relief from error in the trial court, if any, can

hopefully be obtained through the state appellate courts and ultimately through

appeal to the United States Supreme Court.”).

      Purdue has argued that the typical remedies available at law, including

seeking leave to appeal to the higher state courts, would in this case be inadequate.

Purdue believes that the Attorney General’s contemplated efforts to discover and

present at trial evidence relevant only to the federal share would effectively and

inequitably force it to relitigate the already-released federal claims. According to

Purdue, the remedy of challenging the orders on appeal is ineffective because, even

if any excess of damages were remedied by a judicial setoff following the trial, the

the additional cost of defending the claims will already have occurred. Citing the

Vioxx decision, Purdue, claims that allowing the presentation of evidence regarding

the full damages to Medicaid will erroneously inflate the perceived damages to the

Commonwealth, which could have business or public relations implications. 869


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F. Supp. 2d at 729. Purdue worries it could also be forced to pay attorneys fees

based on an inflated damages figure before any set-off by the court. According to

Purdue, these threats constitute irreparable injury such that this court should issue

an injunction.

      Purdue has not explained, however, how these factors demonstrate an

inadequate remedy at law. Purdue has not advanced any of these arguments about

discovery or the presentation of evidence in the six years that the State Court

Action has been pending. Each of these arguments about the relevance of evidence

and potential prejudice to Purdue can be answered by the state court under

Kentucky law. Similar to Judge Fallon in Vioxx, I believe that I am “in no position

to review the relevance or admissibility” under state law of the evidence Purdue

seeks to enjoin. 869 F. Supp.2d at 729. Unlike Judge Fallon, however, I conclude

that the equities involved in this case do not overcome this obstacle.

      I agree with the Third Circuit’s observation that “practical considerations

such as manageability and enforceability” of an order enjoining either discovery

proceedings or the introduction of evidence “militate against an order that

enmeshes a district court in protracted micromanagement of litigation in a state

court.” Diet Drugs II, 369 F.3d at 297-98. Although this type of extensive federal

involvement may be advisable in a case involving a complex multidistrict mass tort

class action and a parallel state court class action, I do not believe that such


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involvement, or even creating the potential for such involvement, would be

advisable here. Purdue requests a narrow injunction of a few aspects of the state

court proceeding, but ultimately any order from this court would require

interpretation and enforcement issues about which the parties are likely to disagree

and in which either party might seek this court’s involvement again in the future.

      Finally, I must be particularly cautious about enjoining state court

proceedings where the state itself is involved as a litigant. See Moore, supra ¶

121.09 (“When a state is significantly involved in a litigation, a litigant seeking to

enjoin the proceedings must show the possibility of great and immediate

irreparable injury that cannot be eliminated by his defense to the state

proceeding.”); accord Goodrich, 511 F.2d at 317-18 (noting that federal courts

should avoid interfering with state court proceedings) (quoting Douglas v. City of

Jeanette, 319 U.S. 157, 162-63 (1943)). “Due regard for the rightful independence

of state governments, which should actuate federal courts, requires that they

scrupulously confine their own jurisdiction to the precise limits which the statute

has defined.” Healy v. Ratta, 292 U.S. 263, 270 (1934). Moreover, the Supreme

Court has stated that “[a]ny doubts as to the propriety of a federal injunction

against state court proceedings should be resolved in favor of permitting the state

courts to proceed. . . . ” Atl. Coast Line R.R., 398 U.S. at 297.




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                                  VI. SUMMARY.

      Purdue has not demonstrated that either the relitigation exception or the in-

aid-of-jurisdiction exception to the Anti-Injunction Act apply to this case under the

circumstances. Given the equities and according proper respect to the principles of

comity and federalism that are part of the foundation of our judicial system, the

entry of any injunction — even one narrowly-tailored to cover only discovery and

evidence in the State Court Action — would be inappropriate.            Accordingly,

Purdue’s motion seeking an injunction will be denied.

      A separate order will be entered forthwith.



                                               DATED: August 5, 2013

                                               /s/ James P. Jones
                                               United States District Judge




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